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                         UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT MICHIGAN

STRIKE 3 HOLDINGS, LLC,               )
                                      )
             Plaintiff,               )   Civil Case No. 1:24-cv-00669-RJJ-RSK
                                      )
v.                                    )
                                      )
JOHN DOE subscriber assigned IP       )
Address 108.70.85.64,                 )
                                      )
             Defendant.               )
                                      )

 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
MOTION FOR LEAVE TO SERVE A THIRD-PARTY SUBPOENA PRIOR TO A RULE
                        26(f) CONFERENCE




                                      i
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Statement of Position: As per Local Rule 7.1(a), Plaintiff files this Memorandum in support of its
Motion for Leave to Serve a Third Part Subpoena so that it may subpoena Doe Defendant’s ISP
for Defendant’s true identity. There exists good cause for early discovery because there is no
alternative means to identify Defendant, and his or her identity is necessary to serve process so
that Plaintiff may litigate its copyright infringement lawsuit.




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 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
MOTION FOR LEAVE TO SERVE A THIRD-PARTY SUBPOENA PRIOR TO A RULE
                        26(f) CONFERENCE

        Pursuant to Fed. R. Civ. P. 26(d)(1), Plaintiff hereby respectfully submits this

Memorandum of Points and Authorities in support of its Motion for Leave to serve a third-party

subpoena prior to a rule 26(f) conference.

  I.    INTRODUCTION

        Plaintiff, Strike 3 Holdings, LLC (“Strike 3” or “Plaintiff”) is the owner of original,

award winning motion pictures featured on its brand’s subscription-based adult websites.

Unfortunately, Strike 3’s success has led users on the Internet to illegally infringe its works on a

very large scale. Indeed, Strike 3’s motion pictures are among the most infringed content in the

world. See Declaration of Jorge Arco, (“Arco Decl.”), attached hereto as Exhibit “A.”

        Strike 3, using its proprietary forensic software, VXN Scan (“VXN”), monitored and

detected the infringement of Strike 3’s content. See id. at ¶ 41. VXN discovered that

Defendant’s IP address was illegally distributing several of Strike 3’s motion pictures. See

Declaration of Patrick Paige, attached hereto as Exhibit “B”. This IP address is assigned to

Defendant by his or her Internet Service Provider (“ISP”), which is the only party with the

information necessary to identify Defendant by correlating the IP address with John Doe’s

identity. Id. at ¶ 28. As a result, Plaintiff now seeks leave to serve limited, immediate discovery

on Defendant’s ISP, AT&T Inc. (AT&T Internet) so that Plaintiff may learn Defendant’s

identity, investigate Defendant’s role in the infringement, and effectuate service. Further

impelling expediency, Defendant’s ISP only maintains the internal logs of the requested

information for a brief period of time.1


1 See, e.g., Statement Of Jason Weinstein Deputy Assistant Attorney General Criminal Division Before The

Committee On Judiciary Subcommittee On Crime, Terrorism, And Homeland Security United States House Of

                                                     1
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        Plaintiff seeks leave of Court to serve a Rule 45 subpoena on Defendant’s ISP. This

subpoena will only demand the true name and address of Defendant. Plaintiff will only use this

information to prosecute the claims made in its Complaint. Without this information, Plaintiff

cannot serve Defendant nor pursue this lawsuit and protect its copyrights.


 II.    FACTS


        A. Plaintiff Has a Serious Problem with BitTorrent Infringement

       Strike 3 holds title to the intellectual property associated with the Blacked, Blacked Raw,

MILFY, Slayed, Tushy, Tushy Raw, and Vixen adult brands (the “Brands”), including the

copyrights to each of the motion pictures distributed through the Brands’ sites and the

trademarks to each of the Brand’s names and logos. Arco Decl. at ¶ 14. Strike 3 is owned

entirely by General Media Systems (“GMS”) and has existed since 2015. Id. at ¶ 9.

        Although it started out small, the Brands’ websites now host approximately 15 million

visitors each month. Id. at ¶ 15. This success is no fluke. Strike 3’s philosophy has always been

to pay artists and models an amount above that being paid by other companies, focusing on

delivering superior quality films. Id. at ¶¶ 17–18. Moreover, Strike 3’s motion pictures are

known for having some of the highest production budgets of any in the adult industry. Id. at ¶

20.

        Because of this commitment to quality, the websites for the Brands have a subscriber

base that is one of the highest of any adult sites in the world. Id. at ¶ 21. Strike 3 is also

frequently the number one seller of adult DVDs in the United States. Id. at ¶ 22. Finally, Strike


Representatives, (January 2011) at
http://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/01/25/11//01-25-11-crm-
weinstein-testimony-re-data-retention-as-a-tool-for-investigating-internet-child-pornography-and-other-
internet-crimes.pdf, stating: “Some [ISP] records are kept for weeks or months; others are stored very briefly
before being purged.”

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3’s content is licensed throughout the world, including by most major cable networks. Id. at ¶

23. This success has led to numerous awards being bestowed upon Strike 3, such as “adult site

of the year,” “best marketing campaign – company image,” and “best cinematography.” Id. at ¶

24.

       Unfortunately, piracy is a major threat and causes tremendous damage to Strike 3, and

Strike 3 “can compete in the industry, but [it] cannot compete when [its] content is stolen.” Id. at

¶ 27. To continue to provide value for members, exciting and inspiring projects for adult

performers, and to continue to create top paying jobs and growth in the adult community, Strike

3 must protect its copyrights. Id. at ¶ 40.

       B. Plaintiff Brings Its Litigation in Good Faith

       Strike 3 is mindful of the nature of the litigation and its goal is to not disclose publicly the

choices that people make regarding the content they wish to enjoy. Moreover, Strike 3 does not

seek to force anyone to settle unwillingly, especially anyone that is innocent. Id. at ¶ 34.

Therefore, Strike 3 only files strong cases against extreme infringers. Id. at ¶ 35. Indeed, each

lawsuit is brought against infringers that not only engage in illegal downloading, but are also

large scale unauthorized distributors of Strike 3’s content. Id. Strike 3 does not seek settlements

unless initiated by a defendant or a defendant’s counsel. Id. at ¶ 36. Additionally, Strike 3 does

not send demand letters. Id. Finally, although certainly Strike 3 does not believe anyone should

be embarrassed about enjoying Strike 3’s works (they just need to pay for that right, not steal it),

Strike 3 respects the desire of defendants to keep private their choices regarding the content they

choose to enjoy. Accordingly, Strike 3 has a policy to: (1) enter into confidentiality agreements

with defendants to facilitate resolution of a case; and (2) stipulate to requests by defendants to

the entry of orders in litigation to maintain the confidentiality of a defendant’s identity. Thus,



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Strike 3 is careful to only proceed to litigation with strong cases, when it has a good faith basis

for doing so, and to enforce its rights in a way that is mindful of a defendant’s privacy interests.

       Strike 3 is a successful adult entertainment company that makes nearly all of its revenue

from sales of subscriptions, DVDs and licenses. Id. at ¶ 38. Strike 3’s goal is to deter piracy

(and seek redress for its harmful consequences) and direct those who infringe content to the

avenue of legitimately acquiring access to Strike 3’s works. Id.

III.   ARGUMENT

   A. Legal Standard Governing Expedited Discovery Requests To Identify An Anonymous
      Defendant

       “A party may not seek discovery from any source before the parties have conferred as

required by Rule 26(f), [unless authorized] by stipulation, or by court order.” Fed. R. Civ. P.

26(d)(1). “[A] district court has the discretion to permit the early issuance of a Rule 45 subpoena

prior to a Rule 26(f) conference. This issue arises not infrequently in copyright infringement

cases where the identity of the alleged infringer is not known.” Malibu Media, LLC v. John

Does 1-9, No. CV 12-12587, 2013 WL 142083, at *1 (E.D. Mich. Jan. 11, 2013) (citation

omitted).

       “While courts are split on the standard to be applied in such instances, and the Sixth

Circuit has not addressed the issue, several courts in this district have applied a ‘good cause’

standard to determine whether such discovery should be authorized.” Third Degree Films, Inc.

v. Does 1-72, No. CV 12-14106, 2012 WL 12931709, at *1 (E.D. Mich. Nov. 13, 2012)

(collecting cases). Indeed, this Court uses the five-factor analysis from Arista to determine

whether a good cause exists.

       In cases such as the one before the Court alleging copyright infringement against
       John Doe Defendant, courts generally find “good cause” exists when the plaintiff
       (1) makes a prima facie showing of a claim of copyright infringement; (2) submits
       a discovery request to the Court; (3) establishes there is no alternative means to

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       obtain the subpoenaed information; (4) demonstrates a central need for the
       subpoenaed information; and (5) shows the defendants whose information is at
       issue have a minimum expectation of privacy.
Malibu Media, LLC v. John Does 1-31, 297 F.R.D. 323, 328 (W.D. Mich. 2012) (citing

Arista Records, LLC v. Doe 3, 604 F.3d 110 (2d Cir. 2010) (numerous citations omitted)).

All five factors weigh in Plaintiff’s favor, and there is good cause for early discovery.

Plaintiff has such good cause to warrant expedited discovery. See e.g., Strike 3 Holdings,

LLC v. Doe, No. CV 19-11299, 2019 WL 2265171, at *2 (E.D. Mich. May 28, 2019).

   B. There Is Good Cause for this Court to Grant Plaintiff’s Motion for Leave to Serve Its
      Subpoena

       1. Plaintiff’s Complaint Makes A Prima Facie Claim for Direct Copyright Infringement

       To make a prima facie claim for copyright infringement, Plaintiff must show

(1) ownership of a valid copyright, and (2) copying of constituent elements of the work that are

original. Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). Plaintiff’s

Complaint accomplishes this, stating: (1) “Plaintiff is the owner of the Works, which [are] an

original work of authorship”; (2) “[d]efendant copied and distributed the constituent elements of

Plaintiff’s Works using the BitTorrent protocol”; and (3) “[a]t no point in time did Plaintiff

authorize, permit or consent to Defendant’s distribution of its Works, expressly or otherwise.”

See Compl. at ¶¶ 48–50.

       Plaintiff owns a valid copyright in the Works, which are registered with the United States

Copyright Office. See 17 U.S.C. § 410(c); see also Compl. at ¶¶ 42, 45. Plaintiff’s prima facie

allegations of infringement are attested to by Mr. Acro. See Arco Decl. Finally, each digital file

has been verified to be a copy of one of Plaintiff’s copyrighted works. See Declaration of Susan

B. Stalzer, Exhibit “C.”




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        Plaintiff has also made a plausible prima facie showing of “copying.” “‘The word

'copying' is shorthand for the infringing of any of the copyright owner's five exclusive rights’

described in § 106.” A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001).

Plaintiff’s Complaint alleges that Doe Defendant not only downloaded Plaintiff’s works over the

BitTorrent network, see 17 U.S.C. § 106(1), but also distributed these files to the BitTorrent

swarm. See id. § 106(3); see also Compl. at ¶ 38. Since Plaintiff’s complaint pleads a “plausible

claim for copyright infringement,” see e.g., Cobbler Nevada, L.L.C. v. Does 1-15, No. CV 2:15-

11871, 2015 WL 4276082, at *2 (E.D. Mich. July 14, 2015), this factor weighs in its favor.

        2. Plaintiff Identifies the Limited and Specific Information Its Subpoena Seeks That Is
           Necessary to Serve Doe Defendant

        Plaintiff’s subpoena is limited and only requests "the true name and address of the

Defendant to whom the ISP assigned an IP address . . . .” Cobbler Nevada, No. CV 2:15-11871,

2015 WL 4276082 at *3–4. The information sought in Plaintiff’s subpoena is “sufficiently

tailored to Plaintiff's limited goal of effectuating service on the Doe Defendant” and thus weighs

in favor of granting leave. Cook Prods., Inc. v. Does 1-9, No. CV 3:16-838-DJH, 2017 WL

4077014, at *2 (W.D. Ky. Sept. 14, 2017).

        3. There Are No “Alternative Means” to Uncover Doe Defendant’s True Identity

        At this early stage in litigation, Plaintiff has a limited view into Defendant’s true identity,

only having access to the offending IP address. People using the Internet are anonymous to the

public, but the ISPs responsible for assigning any given IP address “know who an address is

assigned to and how to get in contact with them.”2 ISPs’ records “are the only available

evidence that allows us to investigate who committed crimes on the Internet. They may be the
2
     Beginner’s    Guide      to   Internet      Protocol     (IP)   Addresses    at   p.    4,   available  at
https://www.icann.org/en/system/files/files/ip-addresses-beginners-guide-04mar11-en.pdf.; American Registry for
Internet     Numbers        Number        Resource        Policy     Manual      at     4.2,    available    at
https://www.arin.net/policy/nrpm.html#four2.


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only way to learn, for example, that a certain Internet address was used by a particular human

being to engage in or facilitate a criminal offense.”3 Since there is no public registry of what IP

addresses correspond to which subscribers, Plaintiff’s subpoena is necessary to advancing

litigation. See cf. Strike 3 Holdings, LLC v. Doe, No. CV 17-1680 (CSH), 2017 WL 5001474, at

*4 (D. Conn. Nov. 1, 2017) (“Defendant's ISP . . . is the only entity that can correlate the IP

address to its subscriber and identify Defendant as the person assigned the IP address . . . during

the time of the alleged infringement.”) (citation omitted). “Strike 3 cannot learn the subscriber's

identity without the subpoenaed information . . . .” Id.

           “Without filing suit, [Plaintiff is] able to identify the name of each user's ISP and IP

address, but only after filing suit and subpoenaing the ISP can copyright owners obtain the actual

names and addresses of the user . . . .” TCYK, LLC v. Does 1 - 13, No. CV 13-296-WMC, 2013

WL 4084751, at *1 (W.D. Wis. Aug. 13, 2013). The ISP is the only entity that can correspond a

subscriber’s identity with his or her IP address, and since Plaintiff “cannot identify [Doe] without

a court-ordered subpoena, . . . there is good cause to allow for early discovery.” Next Phase

Distribution, Inc. v. John Does 1-27, 284 F.R.D. 165, 171–72 (S.D.N.Y. 2012).

           4. The Subpoenaed Information Is Necessary to Advance Plaintiff’s Infringement Claim

           As previously emphasized, “Strike 3 cannot learn the subscriber's identity without the

subpoenaed information . . . .” Strike 3 Holdings, No. CV 17-1680 (CSH), 2017 WL 5001474 at

*4. Plaintiff’s ignorance of Defendant’s identity is the only reason it is filing this present motion

and memorandum. “[T]he identity of the individuals is necessary to move the case forward and

without this information, Plaintiff[] would not be able to determine the identities of [Doe].”

Arista Records, LLC v. Does 1-4, No. CV 7-1115, 2007 WL 4178641, at *3 (W.D. Mich. Nov.

20, 2007). This factor, too, weighs in favor of Plaintiff’s motion.

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    Statement from Jason Weinstein, n.2, supra.

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       5. Defendant’s Minimum Privacy Interest Is Substantially Outweighed by Plaintiff’s
          Interest in Protecting Its Copyrights from Mass BitTorrent Infringers

       Doe Defendant’s privacy and free speech rights are not infringed by Plaintiff’s subpoena

because Defendant “[does] not have a reasonable expectation of privacy in their internet

subscriber information.” Third Degree Films, Inc. v. Does 1-72, No. CV 12-14106, 2012 WL

12931709, at *2 (E.D. Mich. Nov. 13, 2012) (citing Hard Drive Prods. v. Doe, No. CV 11-9062,

2012 U.S. Dist. LEXIS 82927 at *10–11 (N.D. Ill. June 14, 2012)); United States v. Carpenter,

819 F.3d 880, 887 (6th Cir. 2016), rev'd and remanded on other grounds, 138 S. Ct. 2206, 201

L. Ed. 2d 507 (2018) (“[C]ourts have not (yet, at least) extended [Fourth Amendment]

protections to the internet analogue to envelope markings, namely the metadata used to route

internet communications, like sender and recipient addresses on an email, or IP addresses.”).

The Sixth Circuit has long held that “computer users do not have a legitimate expectation of

privacy in their subscriber information because they have conveyed it to another person.” Guest

v. Leis, 255 F.3d 325, 336 (6th Cir. 2001).

       Indeed, “courts have consistently held that Internet subscribers do not have a reasonable

expectation of privacy in their subscriber information—including name, address, phone number,

and email address . . . .” First Time Videos, LLC v. Does 1-500, 276 F.R.D. 241, 247 (N.D. Ill.

2011) (citation omitted). Doe Defendant freely conveyed his or her identifying information to the

ISP. Riding Films, Inc. v. John Does 129-193, No. CV 13-46, 2013 WL 3322221, at *5 (S.D.

Ohio July 1, 2013) (finding persuasive a sister court’s denial of a motion to quash a similar

subpoena because “defendants had no reasonable expectation of privacy in the subpoenaed

information because the defendants had already shared that information with the ISP in order to

obtain internet service”) (collecting cases). As a result, all factors here favor Plaintiff’s motion

for leave to take early discovery of Doe Defendant’s identity.


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    C. Protective Order

        In some BitTorrent cases involving adult content, courts have found it appropriate to

issue a protective order establishing procedural safeguards such as allowing a defendant to

proceed anonymously. See e.g., TCYK, LLC, No. CV 13-296 (WMC), 2013 WL 4084751 at *1 .

Strike 3 respectfully encourages the Court to establish such procedures here, should the Court

find it appropriate.

IV.     CONCLUSION

        For the foregoing reasons, Plaintiff respectfully requests this Court grant leave to Plaintiff

to issue a Rule 45 subpoena to Defendant’s ISP.



Dated: 07/19/2024                                      Respectfully submitted,

                                                       BOROJA, BERNIER &
                                                       ASSOCIATES PLLC

                                                       /s/ Joel A. Bernier
                                                       By: JOEL A. BERNIER (P74226)
                                                       Daniel Boroja (P77079)
                                                       49139 Schoenherr Rd.
                                                       Shelby Township, MI 48315
                                                       T: 586-991-7611
                                                       F: 586-991-7612
                                                       Email: Bbclawgroup@gmail.com
                                                       Attorney for Plaintiff




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